Case 3:05-cv-01300-MLC-TJB Document 156 Filed 07/10/09 Page 1 of 2 PagelD: 2506

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UNITED STATES DISTRICT COURT JUL
DISTRICT OF NEW JERSEY 10 2009

AT 8:30___ dM
WILLA aLsH
JAY B. ROSS and PROTOCOL Docket No. 05-1300 (MLC)

ELECTRONICS, INC.,

 

Civil Action
Plaintiffs, FINAL JUDGMENT

Vv.
CELTRON INTERNATIONAL, INC.,

et al.,

Defendants.

 

 

This matter having come before the Court for trial, anda
unanimous jury having rendered a general verdict accompanied by
interrogatories in favor of Plaintiffs on September 3, 2008
(docket entry no. 115), and a supplemental verdict (as to
punitive damages only) in favor of Plaintiffs on September 139,
2008 (docket entry no. 119); and the Court approving this form
of Final Judgment pursuant to Fed.R.Civ.P. 58(b) (2), and based
upon further rulings as set forth in the Order filed herein on
November 17, 2008 (docket entry no. 131);,

IT IS THEREFORE on this la aay of July 2009, ORDERED AND
ADJUDGED that JUDGMENT is ENTERED is entered in favor of

Plaintiffs, Jay B. Ross and Protocol Electronics, Inc., and

against the named Defendants as set forth below:

 
Case 3:05-cv-01300-MLC-TJB Document 156 Filed 07/10/09 Page 2 of 2 PagelD: 2507

(1) against Defendants Celtron International Inc.,
Satellite Security Systems, Inc., and Allen Harington, jointly
and severally, for breach of contract (Count I of the Amended
Complaint), for compensatory damages in the amount of
$2,775,000.00 plus $778,786.00 in prejudgment interest
(calculated from December 1, 2003 to the date of judgment at the
rate set forth in New Jersey Court Rule 4:42-ll(a})), in a total
amount of $3,553,786.00, plus costs to be taxed by the Clerk;

(2) against Defendant Zirk Engelbrecht for tortious
interference with contract (Count XIII of the Amended Complaint)
in the amount of $2,775,000.00 plus $778,786.00 in prejudgment
interest {calculated from December 1, 2003 to the date of
judgment at the rate set forth in New Jersey Court Rule 4:42-
li(a)), plus punitive damages in the amount of $1.00, in a total
amount of $3,553,787.00, plus costs to be taxed by the Clerk;

(3) ain no event shall Plaintiffs recover from _ the
foregoing Defendants a total of compensatory damages and
prejudgment interest greater than $3,553,786.00; and

(4) all other claims having been previously resolved by

adjudication or stipulation, the Clerk shall mark this action as

CLOSED.

 

fur 2, Levan Cam

United States District Judge

 
